               Case MDL No. 3100 Document 355 Filed 02/05/24 Page 1 of 2




                            BEFORE THE UNITED STATES
                   JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

                                                 )
                                                 )
                                                 )
 In re: Real Estate Commission Antitrust         )   MDL. No. 3100
 Litigation                                      )
                                                 )
                                                 )

                                           ERRATA

       PLEASE TAKE NOTICE that, at the direction of the Clerk’s office, the undersigned

hereby files a revised first page correcting the caption title of the previously filed and served:

Response of Defendant eXp World Holdings, Inc. and eXp Realty, LLC to Gibson/Umpa

Plaintiffs’ Motion for Transfer and Centralization Pursuant to 28 U.S.C. § 1407 [ECF No. 300]

from “In re: Real Estate Commission Litigation” to “In re: Real Estate Commission Antitrust

Litigation.”

Dated: February 5, 2024                         Respectfully submitted,
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